                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                              Plaintiff,

               v.                                           Case No. 09-CR-248

STARSIUS T. BARNES, et al.,

                              Defendants.


             ORDER ON THE DEFENDANTS’ PRETRIAL MOTIONS


       On October 14, 2009, a forty count indictment was returned against 40 defendants. (Docket

No. 1.) This case was denominated as complex under this district’s local rules, (Docket No. 13), and

this court conducted two status conferences to discuss pretrial processing in this matter, (Docket

Nos. 156, 157; 226, 227). March 8, 2010 was established as the deadline for the filing of pretrial

motions. (Docket No. 227.) A total of 17 defendants filed a total of 90 separate motions.

       On March 10, 2010, this court denied various motions filed by numerous defendants.

(Docket No. 370.) Although the court granted various defendants the opportunity to re-file various

motions in conformity with the district’s Local Rules, no defendant has exercised this option. On

March 22, 2010, the government filed a consolidated response to the remaining motions of the

defendants. (Docket No. 375.) Four defendants submitted timely replies. (Docket Nos. 376, 378,

379, 380.) Ryan McMorris submitted an untimely reply and has not requested leave to excuse his

tardiness. (Docket No. 381.) Accordingly, the court shall disregard this filing. Allen Sutton

submitted a reply where he acknowledges its tardiness and asks the court “to accept this late filing

based on excusable neglect,” but provided no further explanation. (Docket No. 382.) Without more


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that an unsupported statement, the court is unable to find a basis to accept this tardy filing, and

therefore this reply shall also be disregarded.

       Dates for a final pretrial conference and the commencement of a jury trial have yet to be

scheduled by the Honorable Lynn Adelman.

DISCLOSURE OF CONFIDENTIAL INFORMANTS

       Fourteen defendants have filed motions related to the disclosure of confidential informants

(“CI”). (Docket Nos. 275, 281, 282, 286, 301, 308, 321, 326, 332, 340, 342, 354, 364, 366.)

       In identical motions, 4 defendants, Christopher Williams, Maceo Collins, Brandon C.

Evans, and Darrick Holmes move the court to order the government to disclose the names of

confidential informants that they intend to call as witnesses at trial of the above captioned case and

to produce them for interviewing. In support of this motion, counsel cites to Rovario v. United

States, 353 U.S. 53, 55 (1957).” (Docket Nos. 275, 286, 308, 326.) Three of these defendants,

Christopher Williams, Brandon C. Evans, and Darrick Holmes, have also separately filed

identical motions seeking the disclosure of “the identities of all informants who are participants in

the alleged crimes charged in the Indictment” and cite McLawhorn v. North Carolina, 484 F.2d 1

(4th Cir. 1973), in support. (Docket No. 274, 317, 325.) In these two separate motions, these

defendants seek disclosure of the two categories of confidential informants, those who were

transactional witnesses and those who the government intends to call to testify at trial. No further

specificity is provided.

       Other defendants make more specific demands, identifying, at least in part, the particular

confidential informants whose identities they seek disclosed. The following specific disclosure

requests have been made.

       Ronnie McMorris seeks the disclosure of “CI 2, 5, 6, 7, 8, 9, 12, 13, 14, 15, 17, 18, and

‘CHS’.” (Docket No. 281 at 1.) Mr. McMorris identifies CHS and CI-17 as transactional witnesses

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in that they claim to have conducted a drug transaction directly with Mr. McMorris. (Docket No.

281 at 1.) As for the other identified CIs, Mr. McMorris contends that disclosure is appropriate

because “all claim to be integrally involved in the Vice Lords drug distribution ring in Racine, and

they do not know Ronnie McMorris, or they have never witnessed McMorris conduct any drug

transaction.” (Docket No. 281 at 1.) Mr. McMorris seeks that the court order the immediate

disclosure of these informants. (Docket No. 281 at 6.)

       Tyrone Malone seeks the disclosure of the following confidential informants whom Mr.

Malone identifies as transactional witnesses in that they are alleged to have seen Mr. Malone

engaged in drug transactions or engaged in transactions directly with Mr. Malone: “CI-6, CI-8, CI-

10, CI-14, CI-15, CI-20, CI-21, and ‘CHS’.” (Docket No. 282 at 1.) Mr. Malone also seeks

disclosure of:

       Witnesses who could provide testimony helpful to the defense: The remaining
       informants all claim to have intimate knowledge of the Vice Lords’ drug operations,
       and said informants either have no knowledge of Tyrone Malone, or have never
       witnessed Tyrone Malone conduct a drug transaction, or claim that Tyrone Malone
       has not dealt drugs within the time of the alleged conspiracy.

(Docket No. 282 at 2.) Mr. Malone also requests that the court order immediate disclosure. (Docket

No. 282 at 7.)

       Calvin Hunter seeks the disclosure of the following transactional witnesses who claim to

have witnessed Mr. Hunter conduct drug transactions or to have conducted drug transactions

directly with Mr. Hunter: “CI-1, CI-3, CI-4, CI-6, CI-7, CI-9, CI-10, CI-12, CI-13 and CI-20.”

(Docket No. 321 at 1-2.) Mr. Hunter also seeks the identities of all other informants, i.e. “CI-2, CI-

5, CI-8, CI-11, CI-14, CI-15, CI-17, CI-18 and CI-21,” because they are “[w]itnesses who could

provide testimony helpful to the defense” in that

       [t]he remaining informants all claim to have intimate knowledge of the Vice Lords’
       drug operations, and said informants either have no knowledge of Calvin Hunter, or
       have never witnessed Calvin Hunter conduct a drug transaction, or claim that Calvin
       Hunter has not dealt drugs within the time of the alleged conspiracy.
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(Docket No. 321 at 2.) Mr. Hunter also requests that the court order immediate disclosure. (Docket

No. 321 at 4.)

        Jarren Gardner seeks the disclosure of certain identified CIs, but states that it is not clear

from the discovery whether these are multiple individuals or the same person. Specifically, Mr.

Gardner states:

        Over the course of a number of alleged drug transactions, the informant is referred to
        in the police reports at different points as “CI 906" (Confidential Informant [No.]
        906)–during transactions alleged on 10-16-2008 and 10-27-2008; “CHS”
        (Confidential Human Source)–during transactions alleged on 06-17-2008; 08-28-
        2008; 10-22-2008; 11-19-2008; 11-25-2008; 06-18-2009; 08-28-2009; and “CI”
        (Confidential Informant,)–during transactions alleged on 10-16-2008 and 11-12-
        2008.

(Docket No. 340 at 2.)

        Tyreese Burton seeks the disclosure of “CI’s 1, 2, 3, 4, 5, 6, 8, 9, 10, 11, 12, 14, 15, 17, 18,

and 20.” (Docket No. 354 at 1.) Mr. Burton contends that “CI’s 3, 5, 8, 9, 15, 18, and 20 are

transactional witnesses.” (Docket No. 354 at 1.) As for the others, Mr. Burton contends “CI’s 1, 2,

4, 6, 10, 11, 12, 14, and 17 are not transactional witnesses, but are nonetheless helpful to the defense

and provide exculpatory evidence.” (Docket No. 354.) For example, certain of the CIs are alleged to

be members of the conspiracy but have stated they do not know Mr. Burton. (Docket No. 354 at 5-

6.) Mr. Burton also seeks that the identities of these CIs be disclosed immediately so as to permit

him sufficient time to conduct an appropriate investigation of these individuals. (Docket No. 354 at

7-8.)

        Allen Sutton seeks the identities of

        confidential informants 7, 20, 21, and 22 as well as any confidential informant used
        by the government in any controlled phone call or controlled drug buy, whether
        charged or uncharged, in which Sutton was allegedly involved as described in the
        discovery on the grounds that the informants are a transactional witness actively
        engaged in the alleged conspiracy to distribute controlled substances.

(Docket No. 366 at 1.)
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       Ryan McMorris seeks the disclosure of certain identified CIs, specifically “CIs 1, 3, 12,

13, 14, 17, 18, 20, 21, and 22 (transactional witnesses) [who] have each provided statements to law

enforcement alleging each has conducted a drug transaction directly with the Defendant.” (Docket

No. 342 at 1-2.) Mr. McMorris also seeks disclosure of

       CIs 2, 4, 5, 6, 8, 9, 10, 11, and 15 [who] are presumably part of the drug distribution
       ring or at least have intimate knowledge of the alleged operation. Yet, the above
       listed CIs mention they do not know the defendant or, in the least, do not know of
       him ever selling drugs.

(Docket No. 342 at 2.) Mr. McMorris also seeks that the disclosures be made immediately. (Docket

No. 342 at 3.)

       Daryll A. Winkler seeks the disclosure of CI-25 and CI-27, whom he states are alleged

transactional witnesses. (Docket No. 320.)

       Other defendants have filed motions in which they seek more sweeping disclosures of the

confidential informants utilized in this case.

       Ryon Perkins seeks disclosure of “any individual whether named or unnamed in this

Indictment who provided information to the United States Government or its agents which

information subsequently led to the indictment and arrest of defendant.” (Docket No. 364 at 2.)

       Elliot Campbell seeks disclosure of “all informants who have contributed to information

the government has relied on in building its case against Mr. Campbell.” (Docket No. 332 at 2-3.)

       Damien T. Searcy seeks the court to order

       the government to disclose the identity of the unnamed informant(s) consistent with
       Rule 501 of the Federal Rules of Evidence and the Sixth and Fourteenth
       Amendments of the United States Constitution and Roviaro v. United States, 353
       U.S. 53 (1957). These informants are transactional eyewitnesses to the events and/or
       are involved in setting up the controlled buys alleged in the Indictment.

(Docket No. 301 at 1.) Mr. Searcy seeks disclosure within 60 days of the defendant’s motion.

(Docket No. 301 at 1.)



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       In response, the government states that it has withheld the identities of the confidential

informants out of concern for the informants’ safety. (Docket No. 375 at 14.) The government states

that it intends to disclose the identities of all confidential informants that it intends to call at trial

thirty days prior to trial and at that time will disclose all related Brady and Giglio material. (Docket

No. 375 at 14.) The government has also agreed to “disclose the identities of the informants who

made the controlled buys which form the basis of most of the substantive counts of the indictment

thirty days before trial.” (Docket No. 375 at 14.) As for other CIs, the government states that it will

not disclose the identities of these individuals. (Docket No. 375 at 14.) It states, “In the event that a

defendant believes he can show a particularized need for the identity of these individuals, he can

seek relief from the government or the court at that time.” (Docket No. 375 at 14-15.)

       Three defendants have submitted timely replies to the government’s response. (Docket Nos.

376, 378, 380.)

       Calvin Hunter contends that he has a right to learn the identities of nearly all confidential

informants in this case on account of the fact that roughly half identify him as a member of the

conspiracy whereas roughly the other half state they never saw him deal drugs within the timeframe

of the alleged conspiracy. (Docket No. 376 at 2.) Mr. Hunter also objects to the proposed 30 day

deadline for disclosure, and contends that such time would be grossly insufficient to permit

appropriate investigation into all the identified informants. (Docket No. 376 at 3-4.)

       Tyreese Burton seeks the disclosure of 17 specific confidential informants, whom he

contend may be broken down into the two separate categories of “a) transactional witnesses [(CI’s

3, 5, 8, 9, 15, 18, and 20)] and b) witnesses that are not directly transactional to Burton, but are

transactional to the conspiracy and are helpful to the defense [(1, 2, 4, 6, 10, 11, 12, 14, and 17)].”

(Docket No. 378 at 1, 2, 4.) As for the transactional witnesses, each is alleged to have either sold

controlled substances to or purchased them from Mr. Burton. (Docket No. 378 at 2.) As for the

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other group, Mr. Burton contends that these individuals are either transactional to the conspiracy or

subject to disclosure under Brady. (Docket No. 378 at 4.)

       Damien T. Searcy contends that the government’s assertion that it is concerned with the

safety of the informants is unsupported by any specific facts that would tend to support a finding

that the safety of these informants would be placed at risk if their identities were disclosed. (Docket

No. 380 at 3.) Further, Mr. Searcy contends that the 30 days proposed by the defendant in which the

defense could investigate confidential informants the government intends to call at trial is

insufficient, particularly in light of the fact that the government has had over four years to conduct

its investigation of these witnesses. (Docket No. 380 at 3-4.) Thus, Mr. Searcy seeks immediate

disclosure of six specific confidential informants whom he has identified as transactional witnesses.

(Docket No. 380 at 4.)

       It is well-established that as a general rule, the government enjoys a limited privilege of

withholding the identity of an informant. See Roviaro v. United States, 353 U.S. 53, 59-60 (1957);

United States v. Conforti, 200 F.2d 365, 367-68 (7th Cir. 1952); United States v. Bender, 5 F.3d

267, 269 (7th Cir. 1993). This privilege encourages citizens to perform their obligation to

communicate their knowledge of the commission of crimes to law enforcement officials, by

preserving the informant’s anonymity. United States v. Jefferson, 252 F.3d 937, 940 (7th Cir. 2001).

The government need not make any sort of threshold showing such as a risk of retaliation if the

informant’s identity is disclosed in order to invoke the privilege. United States v. Herrero, 893 F.2d

1512, 1525 (7th Cir. 1990) (quoting Dole v. Local 1942, IBEW, 870 F.2d 368, 372 (7th Cir. 1989)).

Rather, the privilege is automatic. Id.

       Although automatic, the government’s privilege is not absolute. “Where the disclosure of an

informer’s identity . . . is relevant and helpful to the defense of an accused, or is essential to a fair

determination of a cause, the privilege must give way.” Roviaro, 353 U.S. at 60-61. The defendant

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bears the burden of demonstrating that the privilege should yield. United States v. Valles, 41 F.3d

355, 358 (7th Cir. 1994). “The confidential informant privilege ‘will not yield to permit a mere

fishing expedition, nor upon bare speculation that the information may possibly prove useful.’” Id.

at 358 (quoting Local 1942, 870 F.2d at 373).

       Disclosure of a confidential informant’s identity “must depend on the particular

circumstances of each case, taking into consideration the crime charged, the possible defenses, the

possible significance of the informer’s testimony, and other relevant factors.” Roviaro, 353 U.S. at

62. Factors to be considered are whether the informant is a transactional witness and whether the

informant’s testimony is relevant and could assist the defendant. Bender, 5 F.3d at 270. “Informants

who played major roles in the criminal occurrences will of course offer more significant testimony

than those whose participation was peripheral; a showing that a potential defense may depend on

the informant's involvement also weighs in favor of disclosure.” Valles, 41 F.3d at 358.

       Ultimately, to determine whether the government is required to disclose the identity of an

informant, the court must balance the public interest in obtaining information necessary to

apprehend those who have committed crimes against the defendant’s interest in fair trial. Andrus,

775 F.2d at 841; Jefferson, 252 F.3d at 940-41.

       As the government recognizes, the defendants are entitled to learn the identities of the

confidential informants who the government intends to call as witnesses at trial, as well as the

identities of informants who were transactional witnesses. The court finds that the government’s

agreement to disclose the identities of these individuals 30 days before trial adequately balances the

government’s privilege and concern for the CIs’ safety with the defendants’ interests in adequately

preparing a vigorous defense.

       Thus, this resolves the motions of Christopher Williams, Maceo Collins, Brandon C. Evans,

and Darrick Holmes seeking disclosure of the CIs that the government intends to call to testify at

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trial, (Docket Nos. 275, 286, 308, 326), and the motions of Christopher Williams, Brandon C.

Evans, and Darrick Holmes seeking disclosure of transactional witnesses, (Docket No. 274, 317,

325). Jarren Gardner and Daryll A. Winkler (Docket Nos. 340, 320), also seek only the identities of

transactional witnesses, and therefore these motions shall also be granted.

       Damien T. Searcy has also filed a motion that the court understands to be a request for only

transactional witnesses, although he does not identify any particular CI whose identity he seeks

disclosed. (Docket No. 301.) Therefore, to the extent that this motion seeks only transactional

witnesses it shall be granted.

       Numerous other defendants seek disclosure of not only transactional witnesses but also the

identities of CIs who are allegedly members of the same conspiracy but gave statements indicating

that they either did not know a particular defendant or did not know the defendant to have been

involved in the sale of controlled substances. (Docket Nos. 281, 282, 321, 354, 342.) The statement

of an alleged co-conspirator that he or she has no knowledge of the defendant’s involvement in the

conspiracy is of an exculpatory nature. This is because a defendant can argue to the jury that if a CI

acknowledged by the government to be a member of the conspiracy did not know the defendant,

then the defendant must not have been a co-conspirator. Of course, the counter argument is that not

all conspirators necessarily know each other, especially in a conspiracy that spans several years, but

the defendant has a right to let the jury draw its own conclusion.

       Under such circumstances, the government’s informer privilege must yield to ensure the

defendant’s right to a fair trial. Disclosure close to trial will adequately balance the government’s

interest in safeguarding its informants and a defendant’s right to prepare a vigorous defense.

Accordingly, the court shall order disclosure of the identities of the CIs who gave such exculpatory

statements not less than 30 days before the commencement of trial. Therefore, the motions of




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Ronnie McMorris, Tyrone Malone, Calvin Hunter, Tyreese Burton, Ryan McMorris, (Docket Nos.

281, 282, 321, 354, 342), shall be granted.

       Two defendants, Ryon Perkins, (Docket No. 364), and Elliot Campbell, (Docket No. 332),

have filed motions seeking broad disclosure of every informant. These requests are overbroad and

the defendants have failed in their burden of demonstrating that the government’s informant

privilege should yield. Accordingly, these motions shall be denied.

MOTIONS FOR DISCLOSURE OF EXCULPATORY EVIDENCE

       Numerous defendants have filed motions seeking disclosure of exculpatory evidence.

(Docket Nos. 272, 288, 294, 300, 316, 323, 337, 344, 359.) For the reasons set forth below, these

motions shall be denied.

       Due process requires that the government, upon request, disclose evidence favorable to the

accused. Brady v. Maryland, 373 U.S. 83 (1963). This duty includes an obligation that the

government disclose information that it knows affects the credibility of its witnesses. Giglio v.

United States, 405 U.S. 150 (1972). But Brady and its progeny establishes a disclosure rule, not a

discovery rule. Weatherford v. Bursey, 429 U.S. 545, 559 (1977); United States v. Higgins, 75 F.3d

332, 334 (7th Cir. 1996). “Disclosure even in mid-trial suffices if time remains for the defendant to

make effective use of the exculpatory material.” Higgins, 75 F.3d at 335 (citing United States v.

Allain, 671 F.2d 248, 255 (7th Cir. 1982)).

       The government responds that it is filing its open file policy and therefore shall disclose all

exculpatory material. (Docket No. 375 at 18 citing Crim. L.R. 16(a)(2)). However, the government

states it will not be disclosing all the specific information sought be defendants because it exceeds

the bounds of Brady. (Docket No. 375 at 19.)

       When the government is following its open file policy, as it is in this case, requests for

disclosure of exculpatory information are entirely unnecessary. To the extent that the defendants

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seek additional information beyond that covered by Brady and the progeny thereof, the motions

constitute motions for discovery and thus are barred by Crim. L.R. 16(a)(1) for the defendants’

failure to include a statement required by Crim. L.R. 16(b).

MOTIONS FOR DISCLOSURE OF EXPERTS

       Three defendants have filed motions seeking the disclosure of any expert witness testimony

the government intends to utilize. (Docket No. 304, 331, 345.) Damien T. Searcy alone addresses

the question of when such disclosure should occur. Mr. Searcy requests that the court order that

information under Fed. R. Crim. P. 16(a)(1)(G) be disclosed not later than 5 months before trial but

later asks for disclosure at least 90 days before trial. (Docket No. 304 at 1.)

       The government responds that in accordance with its open file policy and Crim. L.R.

16(a)(4), it will disclose any expert witness information under Fed. R. Crim. P. 16(a)(1)(G) not less

than 15 days before trial. (Docket No. 375 at 23.)

       The court must deny the defendants’ motions. Again, the government is following its open

file policy and thus “the Court must not hear any motion for discovery under Fed. R. Crim. P. 16(a)

or 16(b) unless the motion complies with” Crim. L.R. 16(b). The defendants’ motions do not

comply with Crim. L.R. 16(b) and thus shall be denied.

       Nonetheless, the court on its own motion shall, in accordance with Crim. L.R. 16(a)(4),

order that the government disclose its experts and other material required by Fed. R. Crim. P.

16(a)(1)(G) not less than 45 days before the commencement of trial. Disclosure 15 days before trial

might be sufficient in the ordinary case where the expert testimony is a from a laboratory analyst

who tested a suspected controlled substance, a fingerprint analyst, or a ballistics expert, but this is

not an ordinary case. As Damien T. Searcy points out, in cases such as this involving large gang-

related conspiracies, “expert opinion evidence regarding gang behavior and gang organizations . . .”

is not atypical and this is such a case. (Docket No. 304 at 1 (citing United States v. Mansoori, 304

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F.3d 635 (7th Cir. 2002)); see also Case No. 05-CR-240 (E.D. Wis). If the government intends to

introduce such non-routine expert testimony, 15 days is hardly sufficient time to permit a defendant

to prepare a rebuttal.

MOTIONS FOR DISCLOSURE OF DESTRUCTION OF EVIDENCE

       Five defendants have filed motions seeking the court to order the government to disclose

whether evidence connected to this case has been destroyed. (Docket Nos. 276, 303, 291, 333, 350.)

The government responds that it has contacted the case agents and all have informed counsel for the

government that they are not aware of any evidence having been destroyed. (Docket No. 375 at 25.)

No defendant has submitted a reply to the government’s response. Accordingly, based upon the

government’s representation, the defendants’ motions are moot and shall be denied as such.

MOTIONS FOR DISCLOSURE OF CO-CONSPIRATOR STATEMENTS

       Six defendants have filed motions seeking the court to order the government to disclose the

statements of co-conspirators. (Docket No. 278, 284, 302, 312, 322, 352.) The government responds

that it “has already provided such statements as part of open-file discovery and will continue to

provide additional statements as they are memorialized in reports and provided to government

counsel for dissemination in discovery.” (Docket No. 375 at 16.) No defendant has replied.

Accordingly, based upon the government’s representation, the defendants’ motions are moot and

shall be denied as such.

MOTIONS FOR DISCLOSURE OF ELECTRONIC SURVEILLANCE

       Four defendants have filed motions seeking the court to order the government to disclose

whether electronic surveillance was utilized in the investigation of this case. Two defendants

submitted identical motions simply asking the government to admit or deny whether any evidence

was illegally obtained by way of electronic surveillance. (Docket Nos. 292, 307.) The other two

defendants filed their own identical boilerplate motions, both of which seek the court to compel, in

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part, disclosure by the “United States Attorney for the Western District of Wisconsin [sic], and his

assistants,” and seek many more specific disclosures. (Docket Nos. 273, 324.)

        The government responds that it has already provided copies of the one-party consensually

recorded telephone calls and controlled buys and these previously disclosed recordings are the only

electronic surveillance that occurred in this case. (Docket No. 375 at 22-23.) Further, no

applications for other electronic intercepts were made in this case. (Docket No. 375 at 23.) No

defendant has replied. Accordingly, based upon the government’s representation, the defendants’

motions are moot and shall be denied as such.

MOTION TO PRESERVE EVIDENCE AND RELATED MOTIONS

        Five defendants have filed motions seeking the court to order that all personnel who took

part in the investigation of this case preserve all rough notes taken as part of this investigation.

(Docket No. 279, 298, 310, 327, 357.) The government responds that it “has directed federal and

state law enforcement officers to retain and preserve their handwritten notes pursuant to the

defendants’ requests.” (Docket No. 375 at 24.) No defendant has responded. Accordingly, based

upon the government’s representation, the defendants’ motions are moot and shall be denied as

such.

        Ryan McMorris has filed a sweeping boilerplate motion seeking the government to not only

preserve rough notes of investigators but also preserve things such as “buildings . . . which relate in

any manner to this case.” (Docket No. 351 at 1.)

        He also seeks the court order the government to provide him with

        (a) reasonable notice of the prospective absence or unavailability (specifically
        including but not limited to deportation) of any and all witnesses who are known, or
        by the exercise of due diligence should become known, to the prosecution team and
        who have information, or were so situated that they would reasonably be expected to
        have information, which relates in any manner to this case; and, (b) reasonable
        opportunity to interview such witnesses and secure compulsory process for obtaining
        their presence and testimony in Court; all before the absence or unavailability occurs.

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(Docket No. 351 at 1.)

        As for the first aspect of the defendant’s request, the government states that it has instructed

its agents to preserve evidence pursuant to the defendant’s request. (Docket No. 375 at 25.)

Accordingly, based upon the government’s representation, the defendant’s motion is moot and shall

be denied as such.

        As for the second aspect of the defendant’s request, the government states that it is unaware

that any of its witnesses will be unavailable. (Docket No. 375 at 25.) If a witness the government

intends on calling at trial becomes unavailable, the defendant is not necessarily entitled to relief.

The issue then is the reason for the witness’s unavailability. (Docket No. 375 at 25.) This is a

matter that must await trial. As such, the court finds the defendant’s request to be premature, as

well as overbroad, and therefore it shall be denied.

        McMorris also filed a motion seeking production of the rough notes of any interview of the

defendant. (Docket No. 349.) The government responds that Mr. McMorris was not interviewed in

connection with this case. (Docket No. 375 at 24.) The defendant has not replied. Accordingly,

based upon the government’s representation, the defendant’s motion is moot and shall be denied as

such.

MOTIONS TO COMPEL NOTICE

        Ryon Perkins filed a motion seeking to compel notice under Fed. R. Crim. P. 12(d)(2) of the

government’s intent to use evidence. (Docket No. 365.) First off, Rule 12 of the Federal Rules of

Criminal Procedure has not had subparts of section (d) since the 2002 amendments, and thus the

rule cited by the defendant do not exist. The court presumes that the defendant intended to refer to

what is now Fed. R. Crim. P. 12(b)(4)(B). This rule states:

        At the arraignment or as soon afterward as practicable, the defendant may, in order
        to have an opportunity to move to suppress evidence under Rule 12(b)(3)(C), request
        notice of the government's intent to use (in its evidence-in-chief at trial) any evidence
        that the defendant may be entitled to discover under Rule 16.
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Fed. R. Crim. P. 12(b)(4)(B).

       Like Federal Rule of Evidence 404(b), the rule provides for a “request” by the defendant.

The obligation to disclose is automatic and thus motions seeking to compel such disclosure are

unnecessary absent some resulting dispute between the parties. (See Docket No. 370 at 1-2; see also

Docket No. 290 (identical document filed by Brandon Evans but properly filed as a “request” rather

than a motion).)

       Nonetheless, the government has responded and stated that it is following its open file policy

and thus has turned over all information subject to discovery under Rule 16, and states that it

intends to use all of it against the defendants.

       In light of the government’s disclosure, the defendant’s motion is moot and shall be denied

as such.

MOTIONS FOR DISCLOSURE OF INTENT TO INTRODUCE CERTAIN EVIDENCE

       Jarren Gardner filed a motion seeking the court to order the government to disclose its intent

to introduce evidence pursuant to Federal Rules of Evidence 404(b), 607, 608, 609(a), 609(a)(2),

801(d)(2)(E), 807. (Docket No. 338.) Damien T. Searcy also filed a motion a similar court order

with respect to the government’s intent to introduce evidence pursuant to Rules 404(b) and 608(b).

(Docket No. 313.) Mr. Searcy requests that these disclosures be made within 90 days of his motion.

Docket No. 313.) For the reasons discussed below, these motions shall be denied.

       As this court discussed previously, “motions” for disclosure under Rule 404(b) are

improper. (Docket No. 370 at 1-2.) Rather, the Rule requires merely a “request” as opposed to a

motion to trigger the government’s automatic disclosure obligation. But the government is obligated

to provide “reasonable notice in advance of trial.” Fed. R. Ev. 404(b). Mr. Searcy has requested

disclosure be made within 90 days of his motion. The court is not persuaded that disclosure by this

deadline is necessary.
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        As for all of the defendants’ other requests, neither defendant cites any authority to suggest

that the court may order such disclosure or that the government has an obligation to make such

disclosures.

        As for Mr. Gardner’s request for disclosure of statements that the government intends to

introduce pursuant to Rule 801(d)(2)(E), although he cites Bourjaily v. United States, 483 U.S. 171

(1987) and United States v. Santiago, 582 F.2d 1128 (7th Cir. 1978), these cases do not hold that

pretrial disclosure is required but rather relate to the admissibility of such statements. As this court

explained previously, when it comes to statements under Rule 801(d)(2)(E), “[i]n this district, it is

the well-established long-standing practice to conditionally admit statements of alleged co-

conspirators subject to the government showing that they are admissible in accordance with the

Santiago considerations.” (Docket No. 370 at 5.)

MOTIONS FOR A BILL OF PARTICULARS

        Four defendants have filed motions seeking a bill of particulars. (Docket No. 293, 319, 356,

369.)

        Damien Searcy seeks the court to order the government to provide a bill of particulars

        citing specifically (by Bates No.) which items of evidence are being offered as to
        each specific defendant. Further, that said order directs the government to identify
        with particularity how each defendant, including Searcy, how it intends to prove the
        knowing and intentional entry into the alleged conspiracy in Count 1 of the
        Indictment.

(Docket No. 293 at 1.)

        Daryll A. Winkler seeks the court to order the government to provide a bill of particulars

specifying:

        (1) the date upon which defendant Winkler allegedly joined the conspiracy charged
        and his last dated of alleged participation; (2) the date prior to March 20, 2008 by
        which the conspiratorial agreement between any of defendant’s coconspirators was
        reached; and (3) the identities of “persons known” to the grand jury who allegedly
        were defendant’s coconspirators.

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(Docket No. 319 at 1.)

        Fayzel Mosley seeks the court to order the government to provide a bill of particulars

providing the same information requested by Damien Searcy, (see Docket No. 293 at 1), as well as

“the dates when the government alleges the particular defendant entered the conspiracy.” (Docket

No. 356 at 1.)

        Allen Sutton seeks the court to order the government to provide a bill of particulars

indicating “how it intends to prove that Sutton knowingly and intentionally entered the conspiracy

alleged in Count 1.” (Docket No. 369 at 1.)

        The government opposes the defendants’ requests and states that the indictment and the

discovery sufficiently inform the defendants of the charges against them. (Docket No. 375 at 3-6.)

Daryll A. Winkler and Damien Searcy have replied. (Docket Nos. 379, 380.) Damien Searcy simply

disagrees with the government that the discovery is sufficient to inform him how the government

intends to prove that he entered into the conspiracy alleged in Count 1. (Docket No. 380 at 2-3.)

Daryll A. Winkler’s reply is more specific and shall be addressed below.

        Federal Rule of Criminal Procedure 7(f) permits the court, at its discretion, to order the

government to provide a defendant with a bill of particulars. A court need not order the government to

provide a bill of particulars if the “indictment sufficiently apprises the defendant of the charges to enable

him to prepare for trial.” United States v. Canino, 949 F.2d 928, 949 (7th Cir. 1991) (citing United

States v. Kendall, 665 F.2d 126, 134 (7th Cir. 1981)). “Information relevant to the preparation of a

defense includes the elements of each charged offense, the time and place of the accused’s allegedly

criminal conduct, and a citation to the statute or statutes violated.” United States v. Blanchard, 542

F.3d 1133, 1140 (7th Cir. 2008). Even if the indictment does not provide all essential information, a

bill of particulars is not necessary if the necessary information is available through some other




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satisfactory means such as discovery or the government’s open file policy. Id. (quoting United

States v. Hernandez, 330 F.3d 964, 975 (7th Cir. 2003)); Canino, 949 F.2d at 949.

       Finally, although a defendant is entitled to know the nature of the charges against him and the

government’s theory of prosecution, the defendant is not entitled to know precisely how the government

intends to prove its case. United States v. Agostino, 132 F.3d 1183, 1191 (7th Cir. 1997) (quoting

United States v. Kendall, 665 F.2d 126, 135 (7th Cir. 1981)).

       Defendants Damien Searcy and Allen Sutton, explicitly seek a bill of particulars specifying

how the government intends to prove its case against the defendants. The defendants are not entitled

to such information, Agostino, 132 F.3d at 1191, and thus these motions, (Docket Nos. 293, 369),

shall be denied. Fayzel Mosley, also seeks, in part, that the court order the government to disclose in

a bill of particulars how it intends to prove its case against him, and thus this aspect of Mr. Mosley’s

motions shall be denied. (Docket No. 356.)

       However, Mr. Mosley as well as Daryll A. Winkler, also request that the court order the

government to disclose in a bill of particulars the date that the government alleges they each joined

the conspiracy. (Docket Nos. 356, 319.) In light of the broad temporal scope of the conspiracy,

“[b]eginning by at least 2006, and continuing through October 14, 2009,” (Docket No. 1), the time

Mr. Mosley and Mr. Winkler are alleged to have joined the conspiracy, if each was not a member at

its inception, is information essential to ensuring various constitutional rights that is not likely to be

found in the discovery. See United States v. Rodriguez, 2009 U.S. Dist. LEXIS 38695 (E.D. Wis.

Apr. 24, 2009). Accordingly, these aspects of Mr. Mosley and Mr. Winkler’s requests will be

granted. Within 30 days of this order, the government shall provide to Mr. Mosley and Mr. Winkler

a bill of particulars identifying the date (month and year) each is alleged to have joined the

conspiracy if each was not alleged to be a member at the inception of the conspiracy.




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       As for the other aspects of Mr. Winkler’s motion, these requests shall be granted in part and

denied in part. First, Mr. Winkler requests the government state in a bill of particulars “his last

dated [sic] of alleged participation.” (Docket No. 319 at 1.) A defendant no longer actively

participating in a conspiracy is not necessarily equivalent to an individual withdrawing from a

conspiracy. However, if a defendant did withdraw from this conspiracy, this information, just like

the date he is alleged to have joined the conspiracy, may be crucial to preparing an adequate defense

and is not necessarily likely to be found in discovery. Therefore, if the government alleges that Mr.

Winkler withdrew from the conspiracy prior to the end date referenced in the indictment, the

government shall, within 30 days of this order, provide to Mr. Winkler the date (month and year) he

allegedly withdrew from the conspiracy.

       With respect to Mr. Winkler’s request for “the date prior to March 20, 2008 by which the

conspiratorial agreement between any of defendant’s coconspirators was reached,” the defendant

contends that this information is necessary because “the discovery is more in line with a conspiracy

beginning in 2008 and not 2006,” (Docket No. 319 at 3), as is alleged in the indictment. The court is

not persuaded that this information is essential to adequately inform Mr. Winkler of the charges

against him. The indictment says the conspiracy began by “at least 2006.” (Docket No. 1.) Simply

because the defendant does not believe that the government could prove this fact does not mean that

he is entitled to a bill of particulars where the government would contradict the indictment. Thus,

this aspect of Mr. Winkler’s motion shall be denied.

       Finally, Mr. Winkler seeks the disclosure of the identities of unindicted co-conspirators. The

court finds that this request is appropriate. In a case such as this where a far-reaching conspiracy is

alleged and where there are apparently a number of co-conspirators who, for whatever reason, have

not been indicted, disclosure of these non-indicted individuals the government alleges to have been

members of the conspiracy is essential to permit Mr. Winkler to prepare an adequate defense. See

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United States v. Urbina, 2007 U.S. Dist. LEXIS 55589 (E.D. Wis. July 31, 2007). However,

disclosing the identities of unindicted co-conspirators, as the motions to disclose the identities of

confidential informants discussed above make clear, runs up against the government’s informer

privilege. The court is not persuaded that the actual identities of any confidential informants is

necessary to permit Mr. Winkler discern the scope of the conspiracy alleged; rather, identifying

each unindicted co-conspirator either by name or, where privileged, by a CI number or other

moniker used in discovery, will suffice. Accordingly, the court shall order the government to

provide to Mr. Winkler within 30 days of this order a bill of particulars identifying the names or CI

number if the identity of these individuals is privileged, of all unindicted alleged co-conspirators

known to the government.

MOTIONS FOR DISCLOSURE OF JENCKS ACT MATERIAL

       Four defendants have filed motions seeking the court to order the government to disclose

Jencks Act, see 18 U.S.C. § 3500, material in advance of trial. Brandon Evans seeks disclosure of

Jencks Act material 20 days before trial. (Docket No. 299.) Damien T. Searcy and Ryan McMorris

seek disclosure 30 days before trial. (Docket No. 309, 346.) Jarren D. Gardner seeks merely “early”

disclosure. (Docket No. 339-1.) The government responds that it has agreed to make most of the

material covered by the Jencks Act part of its open file policy. (Docket No. 375 at 17.) It continues:

       The only Jencks’ material currently in the government’s possession are statements of
       law enforcement officers. With the exception of grand jury materials, such
       statements have been disclosed. However, the government is aware of its continuing
       obligation under the Jencks Act and will continue to disclose witness statements as
       they become available. The government will also disclose grand jury transcripts of
       its witnesses one week prior to trial.

(Docket No. 375 at 17.)

       As the court understands the government’s response, the only testimony before the grand

jury that will be subject to disclosure under the Jencks Act is the testimony of law enforcement

officers. No defendant has offered a persuasive reason as to why the one week before trial that the
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government has agreed to disclose any remaining Jencks Act material is insufficient time to

adequately review these transcripts in advance of trial. Accordingly, the motions shall be denied.

GRAND JURY RELATED MOTIONS

       Brandon C. Evans filed a motion seeking disclosure of the minutes of the grand jury

proceedings. (Docket No. 297.) Damien T. Searcy has filed two motions related to grand jury

proceedings. In the first he seeks the court to disclose a wide variety of information:

       1. The number of grand jurors present at each session during which this indictment
       and evidence relating thereto or to this defendant was considered.

       2. The number of grand jurors present during the deliberations on the presentment of
       this indictment.

       3. The number of grand jurors concurring in the presentment of this indictment.

       4. The identify [sic] of any and all grand jurors that were disciplined, removed, or
       subject to any action whatsoever because of any impropriety or alleged impropriety
       that occurred during their service.

       5. The identity of any agents appointed by or to the grand jury and by whose request
       and by what authority such appointments were made as well as what disclosures
       were made to such individuals or any others and by what authority and procedure.

       6. A copy of the instructions or the transcript of the instructions given to the grand
       jury as to their role and function and as to each offense and element thereof on which
       they were asked to vote in this case.

       7. The transcripts, and if none were made, then the substance of the testimony of
       each witness who appeared before the grand jury including those regarding this
       defendant or any charges presently pending against him.

       8. The identity of each grand juror who is or has been connected with a state or
       federal law enforcement agency.

       9. Copies of all orders of immunity and letters of immunity of all witnesses who
       testified before or provided information for the grand jury conducting this
       investigation.

(Docket No. 306.) In a separate motion Mr. Searcy requests a transcript of the legal instructions

provided to the grand jury even though such information would seem to be included in paragraph 6

of his request quoted above. (Docket No. 311.)
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       The court shall deny the defendants’ motions. “Our judicial system consistently has

recognized that the proper functioning of grand jury proceedings depends upon their absolute

secrecy.” In re Grand Jury Proceedings, 942 F.2d 1195, 1198 (7th Cir. 1991). Federal Rule of

Criminal Procedure 6(e) codifies this requirement of secrecy. “[T]he standard for determining when

the traditional secrecy of the grand jury may be broken is deliberately stringent.” In re Grand Jury

Proceedings, 942 F.2d at 1198. It is not enough for a defendant to show that the information would

be relevant or useful. Hernly v. United States, 832 F.2d 980, 984 (7th Cir. 1987). Rather, disclosure

will be ordered only if the defendant is able to demonstrate a “compelling necessity” or a

“particularized need.” In re Grand Jury Proceedings, 942 F.2d at 1198. The defendant must show

“must show that the material they seek is needed to avoid a possible injustice in another judicial

proceeding, that the need for disclosure is greater than the need for continued secrecy, and that their

request is structured to cover only material so needed.” Id.

       Brandon C. Evans makes no effort to support his request; he simply states he wants the

minutes “to determine whether or not there has been compliance with Federal Rules of Criminal

Procedure 6(d).” (Docket No. 297.) Damien T. Searcy’s explanation for the numerous requests

quoted above is that he “seeks the information requested herein to protect his constitutional right to

due process, equal protection of the law and such other rights as obtain.” (Docket No. 306 at 2.) As

for his other motion seeking only the legal instructions provided to the grand jury, Mr. Searcy

contends that “[a]bsent disclosure of the grand jury instructions, defense counsel will be unable to

consider a later motion challenging the indictment on grounds that the legal instructions interfered

with the grand jury’s basic function.” (Docket No. 311 at 2.)

       All of the defendants’ proffered reasons are woefully insufficient to merit the disclosure of

the grand jury information requested. See Lucas v. Turner, 725 F.2d 1095, 1102 (7th Cir. 1984).




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The defendants’ requests are based upon nothing more than bald speculation, and thus the

defendants merely seek to undertake a proverbial fishing expedition.

MOTION FOR SEVERANCE

       Damien T. Searcy has filed a motion seeking severance pursuant to Federal Rules of

Criminal Procedure 8, 12(b)(5) (a Rule that does not exist), and 14. (Docket No. 295 at 1.) Mr.

Searcy contends that severance is appropriate because he would be unfairly prejudiced by a joint

trial because of a disparity in the evidence. Of the roughly 3500 pages of discovery, Mr. Searcy is

allegedly mentioned in only 59 pages that relate to Count 8 of the indictment and in about 8 other

pages detailing statements by various CIs. (Docket No. 295 at 2, 9-12.) Further, Mr. Searcy

contends that the introduction of other co-defendants’ statements may jeopardize his right to

confrontation. (Docket No. 295 at 3-4.) He also speculates that he might be prejudiced by an

inability to call a co-defendant who may be able to provide exculpatory testimony. (Docket No. 295

at 6-9.) Finally, he contends that he would be prejudiced because his defense is antagonistic to the

defense of his co-defendants and that a joint trial would limit his ability to impeach his co-

defendants. (Docket No. 295 at 4-5.)

       Federal Rule of Criminal Procedure 8(b) permits the government to charge two or more

defendants in a single indictment “if they are alleged to have participated in the same act or

transaction, or in the same series of acts or transactions, constituting an offense or offenses.” Rule

14 permits a court to sever joined defendants and order separate trials if “a consolidation for trial

appears to prejudice a defendant.” The defendant does not allege that he was improperly joined

pursuant to Rule 8(b) but rather seeks relief from prejudicial joinder pursuant to Rule 14.

       [A] district court should grant a severance under Rule 14 only if there is a serious
       risk that a joint trial would compromise a specific trial right of one of the defendants,
       or prevent the jury from making a reliable judgment about guilt or innocence. Such a
       risk might occur when evidence that the jury should not consider against a defendant
       and that would not be admissible if a defendant were tried alone is admitted against a
       codefendant. For example, evidence of a codefendant's wrongdoing in some
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       circumstances erroneously could lead a jury to conclude that a defendant was guilty.
       When many defendants are tried together in a complex case and they have markedly
       different degrees of culpability, this risk of prejudice is heightened. Evidence that is
       probative of a defendant's guilt but technically admissible only against a codefendant
       also might present a risk of prejudice. Conversely, a defendant might suffer prejudice
       if essential exculpatory evidence that would be available to a defendant tried alone
       were unavailable in a joint trial. The risk of prejudice will vary with the facts in each
       case, and district courts may find prejudice in situations not discussed here.

Zafiro v. United States, 506 U.S. 534, 539 (1993) (internal citations omitted).

       A defendant is not entitled to severance simply because he may have a better chance of

acquittal if he had a separate trial. Id. at 540. “Rather, [a defendant] ‘must establish that he suffered

actual prejudice’ . . . by establishing that absent the granting of the severance motion, he was unable

to obtain a fair trial.” United States v. Stokes, 211 F.3d 1039, 1042 (7th Cir. 2000) (citations

omitted). It is the defendant’s burden to demonstrate a strong showing of prejudice. United States v.

Moya-Gomez, 860 F.2d 706, 767-68 (7th Cir. 1988).

       The risk of prejudice that may result from “evidentiary spillover” is ordinarily slight. United

States v. Abdelhaq, 246 F.3d 990, 992 (7th Cir. 2001). Generally, any risk of prejudice will be

eliminated by appropriate limiting jury instructions. Zafiro, 506 U.S. at 539, 541. “Moreover, courts

also have a strong interest in favor of joinder of offenses; in particular, joinder of offenses reduces

the waste of precious judicial and prosecutorial time in the already overburdened federal judicial

system and reduces the burdens on witnesses from testifying at multiple trials.” Stokes, 211 F.3d at

1042. The Seventh Circuit “has long recognized a presumption in favor of conducting a joint trial

for persons who have been jointly indicted, especially in situations such as this where the

indictment charges a conspiracy.” United States v. Caliendo, 910 F.2d 429, 437 (7th Cir. 1990)

(citing cases). “[A] simple ‘disparity in the evidence’ will not suffice to support a motion for

severance -- i.e., it does not independently establish ‘actual prejudice’.” Id. at 438.




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       The court finds no merit to Mr. Searcy’s claim that joinder was improper under Fed. R.

Crim. P. 8. Mr. Searcy is charged in a conspiracy and the additional counts alleged in the indictment

related to acts done in furtherance of and related to the conspiracy.

       As for Mr. Searcy’s claims of prejudicial joinder under Rule 14, at this point, the defendant

has failed to demonstrate the existence of prejudice so as to warrant severance. Mr. Searcy’s claims

are based primarily upon speculation. Even if all of the defendants choose to exercise their right to a

jury trial, obviously not all 39 of Mr. Searcy’s co-defendants are going to go to trial at the same

time. Rather, defendants shall be grouped together for several smaller joint trials.

       Whether Mr. Searcy’s right to confrontation will be compromised by a joint trial will depend

upon which co-defendants he is grouped with for trial. With whom Mr. Searcy’s is grouped for trial

will also affect all other aspects of Mr. Searcy’s claim of prejudice. Whether there will be a risk of

actual prejudice at trial that cannot be appropriately remedied through some means other than

severance, is an issue that cannot be adequately resolved at this time. Accordingly, the defendant’s

motion for severance shall be denied without prejudice.

MOTIONS BEST RESERVED FOR THE TRIAL JUDGE

       This court’s role in this matter is limited to assisting Judge Lynn Adelman in the processing

of the defendants’ pretrial motions. Because Judge Adelman will be presiding over any trial in this

matter, this court finds that those motions that would directly affect his management of any trial are

best deferred to Judge Adelman. Accordingly, the court shall deny the following motions without

prejudice and grant the defendants leave to refile these motions before Judge Adelman in

accordance with a subsequent scheduling order of Judge Adelman or as motions in limine:

       Defendants Daryll A. Winkler and Ryon Perkins’ motions to exclude evidence of gang

membership and activity. (Docket Nos. 318, 361.)




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            Defendant Ryan McMorris’ motion seeking disclosure of any summary evidence at least 21

days prior to trial. (Docket No. 343.)

            IT IS THEREFORE ORDERED:

            Christopher Williams’ motion to disclose the names of confidential informants that the

government intends to call as witnesses, (Docket No. 275), is granted. The government shall

disclose the identities of all confidential informants it intends to call at trial in its case in chief not

later than 30 days before the commencement of trial.

            Maceo Collins’ motion to disclose the names of confidential informants that the

government intends to call as witnesses, (Docket No. 286), is granted. The government shall

disclose the identities of all confidential informants it intends to call at trial in its case in chief not

later than 30 days before the commencement of trial.

            Brandon C. Evans’ motion to disclose the names of confidential informants that the

government intends to call as witnesses, (Docket No. 308), is granted. The government shall

disclose the identities of all confidential informants it intends to call at trial in its case in chief not

later than 30 days before the commencement of trial.

            Darrick Holmes’ motion to disclose the names of confidential informants that the

government intends to call as witnesses, (Docket No. 326), is granted. The government shall

disclose the identities of all confidential informants it intends to call at trial in its case in chief not

later than 30 days before the commencement of trial.

            Christopher Williams’ motion to disclose the identities of all informants who are

participants in the alleged crimes charged in the Indictment, (Docket No. 274), is granted. The

government shall disclose the identities of all confidential informants who were transactional

witnesses to the crimes charged in the indictment not later than 30 days before the commencement

of trial.

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       Brandon C. Evans’ motion to disclose the identities of all informants who are participants in

the alleged crimes charged in the Indictment, (Docket No. 317), is granted. The government shall

disclose the identities of all confidential informants who were transactional witnesses to the crimes

charged in the indictment not later than 30 days before the commencement of trial.

       Darrick Holmes’ motion to disclose the identities of all informants who are participants in

the alleged crimes charged in the Indictment, (Docket No. 325), is granted. The government shall

disclose the identities of all confidential informants who were transactional witnesses to the crimes

charged in the indictment not later than 30 days before the commencement of trial.

       Ronnie McMorris’ motion to compel the disclosure of confidential informants, (Docket No.

281), is granted. The government shall disclose the identities of “CI 2, 5, 6, 7, 8, 9, 12, 13, 14, 15,

17, 18, and ‘CHS’” not less than 30 days before the commencement of trial.

       Tyrone Malone’s motion to compel the disclosure of confidential informants, (Docket No.

282), is granted. The government shall disclose the identities of “CI-6, CI-8, CI-10, CI-14, CI-15,

CI-20, CI-21, and ‘CHS’” (transactional witnesses) and all other informants who “have no

knowledge of Tyrone Malone, or have never witnessed Tyrone Malone conduct a drug transaction,

or claim that Tyrone Malone has not dealt drugs within the time of the alleged conspiracy”

(exculpatory witnesses), not less than 30 days before the commencement of trial.

       Calvin Hunter’s motion to compel the disclosure of confidential informants, (Docket No.

321), is granted. The government shall disclose the identities of “CI-1, CI-3, CI-4, CI-6, CI-7, CI-9,

CI-10, CI-12, CI-13 and CI-20” (transactional witnesses) and “CI-2, CI-5, CI-8, CI-11, CI-14, CI-

15, CI-17, CI-18 and CI-21,” (exculpatory witnesses) not less than 30 days before the

commencement of trial.

       Jarren Gardner’s motion to compel the disclosure of confidential informants, (Docket No.

340), is granted. The government shall disclose the identities of “‘CI 906’ (Confidential Informant

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[No.] 906)–during transactions alleged on 10-16-2008 and 10-27-2008; ‘CHS’ (Confidential Human

Source)–during transactions alleged on 06-17-2008; 08-28-2008; 10-22-2008; 11-19-2008; 11-25-

2008; 06-18-2009; 08-28-2009; and ‘CI’ (Confidential Informant,)–during transactions alleged on

10-16-2008 and 11-12-2008” not less than 30 days before the commencement of trial.

       Tyreese Burton’s motion to compel the disclosure of confidential informants, (Docket No.

354), is granted. The government shall disclose the identities of “CI’s 1, 2, 3, 4, 5, 6, 8, 9, 10, 11,

12, 14, 15, 17, 18, and 20” not less than 30 days before the commencement of trial.

       Allen Sutton’s motion to compel the disclosure of confidential informants, (Docket No.

366), is granted. The government shall disclose the identities of “confidential informants 7, 20, 21,

and 22” and any other confidential informants who were transactional witnesses to an act alleged in

the indictment not less than 30 days before the commencement of trial.

       Ryan McMorris’ motion to compel the disclosure of confidential informants, (Docket No.

342), is granted. The government shall disclose the identities of “CIs 1, 3, 12, 13, 14, 17, 18, 20,

21, and 22 (transactional witnesses)” and “CIs 2, 4, 5, 6, 8, 9, 10, 11, and 15” (exculpatory

witnesses), not less than 30 days before the commencement of trial.

       Daryll A. Winkler’s motion to compel the disclosure of confidential informants, (Docket

No. 320), is granted. The government shall disclose the identities of “CI-25 and CI-27” not less

than 30 days before the commencement of trial.

       Ryon Perkins’ motion to compel the disclosure of confidential informants, (Docket No.

364), is denied.

       Elliot Campbell’s motion to compel the disclosure of confidential informants, (Docket No.

332), is denied.

       Damien T. Searcy’s motion to compel the disclosure of confidential informants, (Docket No.

301), is granted as follows: The government shall disclose the identities of all transactional

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witnesses involved in acts that form the basis for the indictment against Damien T. Searcy not less

than 30 days before the commencement of trial.

        The motions for disclosure of exculpatory evidence, (Docket Nos. 272, 288, 294, 300, 316,

323, 337, 344, 359), are denied.

        The motions for disclosure of expert witnesses, (Docket No. 304, 331, 345), are denied. The

government shall disclose its experts and related material not less than 45 days before trial.

        The motions for disclosure of destruction of evidence, (Docket Nos. 276, 303, 291, 333,

350,) are denied as moot.

        The motions for disclosure of co-conspirator statements, (Docket No. 278, 284, 302, 312,

322, 352), are denied as moot.

        The motions for disclosure of electronic surveillance, (Docket Nos. 273, 292, 307, 324), are

denied as moot.

        The motions to preserve the rough notes of law enforcement, (Docket No. 279, 298, 310,

327, 357), are denied as moot.

        Ryan McMorris’ motion to for the preservation of rough notes of the interview of the

defendant, (Docket No. 349), is denied as moot.

        Ryan McMorris’ motion for the preservation of evidence, (Docket No. 351), is denied.

        Ryon Perkins’ motion to compel notice, (Docket No. 365), is denied as moot.

        Jarren Gardner and Damien T. Searcy’s motions for disclosure, (Docket Nos. 338, 313), are

denied.

        Damien Searcy’s motion for a bill of particulars, (Docket No. 293), is denied.

        Daryll A. Winkler’s motion for a bill of particulars, (Docket No. 319), is granted in part

and denied in part. Within 30 days of this order the government shall provide the defendant with a

bill of particulars as follows:

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              identifying the date (month and year) he is alleged to have joined the conspiracy if

               each was not alleged to be a member at the inception of the conspiracy;

              identifying the date (month and year) he allegedly withdrew from the conspiracy if

               the government alleges that he withdrew from the conspiracy prior to the end date

               referenced in the indictment; and

              identifying the names or CI number if the identity of these individuals is privileged,

               of all unindicted alleged co-conspirators known to the government.

       Fayzel Mosley’s motion for a bill of particulars, (Docket No. 356), is granted in part and

denied in part. Within 30 days of this order the government shall provide the defendant with a bill

of particulars identifying the date (month and year) he is alleged to have joined the conspiracy if

each was not alleged to be a member at the inception of the conspiracy.

       Allen Sutton’s motion for a bill of particulars, (Docket No. 369), is denied.

       The motions for early disclosure of Jencks Act materials, (Docket Nos. 299, 309, 339-1,

346), are denied.

       Brandon C. Evans’ motion seeking disclosure of the minutes of the grand jury proceedings,

(Docket No. 297), is denied.

       Damien T. Searcy’s motion for disclosure of grand jury information, (Docket No. 306), is

denied.

       Damien T. Searcy’s motion for disclosure of grand jury instructions, (Docket No. 311), is

denied.

       Damien T. Searcy’s motion for severance, (Docket No. 295), is denied without prejudice.

       Daryll A. Winkler and Ryon Perkins’ motions to exclude evidence of gang membership and

activity, (Docket Nos. 318, 361), are denied without prejudice.




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       Ryan McMorris’ motion seeking disclosure of any summary evidence at least 21 days prior

to trial (Docket No. 343), is denied without prejudice.

       Your attention is directed to 28 U.S.C. ' 636(b)(1)(A) and Fed. R. Crim. P. 59(a) (as

amended effective December 1, 2009) whereby written objections to any order herein or part

thereof may be filed within fourteen days of service of this order. Objections are to be filed in

accordance with the Eastern District of Wisconsin's electronic case filing procedures. Courtesy

paper copies of any objections shall be sent directly to the chambers of the district judge assigned to

the case. Failure to file a timely objection with the district court shall result in a waiver of a party=s

right to appeal.



       Dated at Milwaukee, Wisconsin this 7th day of April, 2010.

                                                       s/AARON E. GOODSTEIN
                                                       U.S. Magistrate Judge




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